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United States District Court
District of Massachusetts

In re Harvard Pilgrim Data
Security Incident Civil Action No.

23-11211-NMG

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MEMORANDUM & ORDER
GORTON, J.

This putative class action arises out of a ransomware
cybersecurity incident impacting certain Harvard Pilgrim health
plans from March 28 to April 17, 2023. During the course of the
breach, unauthorized individuals allegedly stole plaintiffs’
data from Harvard Pilgrim’s servers.

In July, 2023, this Court consolidated approximately 20
cases, all of which arose out of the Harvard Pilgrim breach,
into the pending class action. The consolidation order
solicited motions for appointment of interim lead counsel.

Three motions to appoint interim co-lead counsel are
pending, including the motions of: 1) Attorney Danielle Perry
(Docket No. 34), 2) counsel for the so-called “Joint Plaintiffs”
(Docket No. 36) and 3) counsel for the so-called “Patterson
Plaintiffs” (Docket No. 38). Attorney Perry also moves to be
appointed to any future “executive committee,” the Joint

Plaintiffs move to be appointed as “co-liaison counsel” and to a
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“steering committee” and the Patterson Plaintiffs move to be
appointed as “co-liaison counsel” and to an “executive
committee.”

In cases where there are

“overlapping, duplicative, or competing suits pending in

other courts, and some or all of those suits may be

consolidated”
appointing interim lead counsel pursuant to Fed. R. Civ. P.
23(g) (3) may be warranted. See Manual for Complex Litigation
(Fourth) § 21.11. Such is the case here.

Rule 23(g) (3) does not, however, identify particular
requirements for making an interim designation. Instead, courts
generally refer to factors listed in Rule 23(g) (1) (A) as
follows:

1) the work counsel has done in identifying or
investigating potential claims;

2) counsel's experience in handling class actions, other
complex litigation, and the types of claims asserted in the
action;

3) counsel's knowledge of the law; and

4) the resources that counsel will commit to the
representation.

Furthermore, the court “may consider any other matter pertinent
to counsel's ability to fairly and adequately represent the
interests of the class[.]” Fed. R. Civ. P. 23(g) (1) (B).

Here, all moving counsel are qualified to lead the suit.

The Court concludes, however, that counsel for the Joint

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Plaintiffs are best suited to assume the role of the interim co-
lead counsel based on the Rule 23(g) factors by virtue of their
resources, experience in data breach litigation and industry
recognition in that practice area.

Moreover, the proposed leadership group avers that they
have conducted considerable independent investigation of the
claims and have gained the support of a simple majority of named
plaintiffs. Based upon their memoranda and affidavits, the
Court is satisfied that counsel for the Joint Plaintiffs will
provide competent representation.

Finally, the Court will deny without prejudice the motions
for appointment of liaison counsel and an executive committee
but solicits a joint proposal for appointment of the same, if
there is good cause to do so to facilitate the case prior to the
motion to certify. The Court will convene a hearing to consider
these matters.

ORDER

For the foregoing reasons:

1. The motion of Attorney Danielle Perry (Docket No. 34) is,
with respect to her motion to be appointed interim co-
lead counsel, DENIED and, with respect to her motion to
be appointed to any future “executive committee”, DENIED
without prejudice.

2. The motion of counsel for the Joint Plaintiffs (Docket
No. 36) with respect to their motion to be appointed
interim co-lead counsel is, ALLOWED, but, with respect to

their motion to be appointed liaison counsel and to any
future “steering committee”, DENIED without prejudice.

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3. The motion of counsel for the Patterson Plaintiffs
(Docket No. 38) is, with respect to their motion to be
appointed interim co-lead counsel, DENIED, and, with
respect to their motion to be appointed liaison counsel
and to any future “executive committee”, DENIED without
prejudice.

A status conference to consider pending preliminary matters

will be convened on Wednesday, April 17, 2024, at 11:00 a.m.

So ordered.

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Nathaniel M. Gorton
United States District Judge

Dated: March /7, 2024
